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                         UNITED STATES DISTRICT COURT                         FU ^3
                                                                       f.S.n-'^^-rcOLiRT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA                                  ^

                                 SAVANNAH DIVISION                                           2- 51^
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                                                                          SO. ui^ h or uA.
J.K, a minor, by and through his mother

Lakeisha Hamilton; and J J. and K.M by

and through their mother, Tauretta McCray

PLAINTIFF.

V.


EFFINGHAM COUNTY SCHOOL DISTRICT,

BOARD MEMBER, F. LAMAR ALLEN, Officially;
                                                               Cv4£3-0G^
BOARD MEMBER VICKIE DECKER; Officially;               Case No.

BOARD MEMBER JAN LANDING; Officially;

BOARD MEMBER LYNN ANDERSON; Officially:

BOARD MEMBER BEN JOHNSON; Officially;

DR. YANCY FORD, Officially

DEFENDANT.




                                     COMPLAINT




                                      Introduction

1. This civil rights action is brought by two students at Effingham County High School

("ECHS"), and a student at Effingham College and Career Academy ("ECCA")by and

through their respective mothers, Lakeisha Hamilton ("Hamilton") and Tauretta McCray,

("McCray) individually. ECHS and ECCA are public educational institutions maintained
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by Defendant Effingham County, Georgia Board of Education, Effingham County

School District ("ECSD"). The individual named defendants are policymaking officers of

the Board, and named In their official capacity.


2. Defendant ECSD is public school system is a public school system vested with the

constitutional duty to "establish and maintain public schools" within Its geographical

limits. Ga. Cons. Art. VIII § 5 f I. ECSD is governed by the Effingham County Board of

Education, which is charged with the duty to maintain "management and control" of the

ECSD system. Ga. Const. Art. VIII, § 5, f II. The discriminatory and unconstitutional

actions of ECHS, ECCA and the ECSD are derived from policies adopted by

Defendants. The conduct of the ECHS and ECCA administrators as described herein


are also the acts and omissions of Defendants.



3. Plaintiffs, who are African-American, challenge ECHS's and ECCA's deliberate

Indifference to acts of racial animosity toward Black students perpetuated by white

students and teachers; as well as the school's viewpoint discrimination in its dress code

and the inconsistent administration of disciplinary policies to the detriment of Black

students. Defendant's conduct, as outlined herein, violates Plaintiffs' rights to Equal

Protection under the Fourteenth Amendment; their right to free speech under the First

Amendment; and their right to be free from race discrimination and retaliation under

Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d, et seq.


4. School administrators at ECHS, ECCA and the ECSD have engaged in an egregious

pattern of deliberately ignoring complaints from Plaintiffs and other black students and
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their parents) and demonstrated a deliberate indifference to peer-to-peer harassment

about repeated Incidents of racial intimidation and bigotry at ECHS and ECCA, which

have included but are not limited to: two students scrawling racial epithet across lockers

in the baseball locker room; a noose being hung in the football locker room; students

wearing Confederate flag attire; a white student wearing a full Hitler costume during

spirit week after obtaining prior approval from a teacher; white students' open use of

racial slurs including "ni****"; overtly racist remarks by a white teacher and open and

notorious display of Confederate flags in the building.


5. The school's dress code and disciplinary policies create an atmosphere where

certain viewpoints including white nationalism and white supremacy are permitted but

speech of an ideologically different viewpoint is expressly prohibited. The school's dress

code is emblematic of these unlawful policies. Under the school's dress code, which is

promulgated by the Board, school officials permit the wearing of any and all

Confederate flag apparel is permitted, but simultaneously prohibit the wearing of any

and all "Black Lives Matter" or related thematic messaging (e.g. a shirt with Black Love).


6. White students were found to have defaced and damaged government property, by

scrawling "I hate ni*****" on lockers in the baseball locker room. To date, these students

were not punished for this heinous offense, but Instead subjected to 2 days of ISS (in

school suspension) for other related offenses.


7. In September 2022, during the school's Spirt Week, the school's and school district's

flagrant viewpoint discrimination came into acute focus. That week a while male student

was permitted, after asking prior to to do so, to wear a full Adolph Hitler costume for the
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course of an entire day without any repercussions. Nothing was done in response to this

incident despite complaining to Defendants by black students.


8. Plaintiff Thornill and J.J. allege (collectively, "Plaintiffs") that Defendants violated Title

VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d, et. seq., by disciplining her in

retaliation for complaining about the use of racial epithet, when white students simularly

situated or worse situated in all material aspects were not punished. For example the

students that actually defaced the baseball locker room were not punished nearly as

harsh.



9. Plaintiffs allege that Defendants have violated the First Amendment of the U.S

Constitution, as applied to the states through the Fourteenth Amendment, by the

following acts: forbidding ECHS and ECSD students from wearing "Black Lives Matter"

messaging to school, while permitting Confederate flag, Trump paraphernalia and

apparel.


10. Plaintiffs allege that Defendants have violated the Equal Protetion Clause of the

Fourteenth Amendment, by denying Plaintiffs the right to equal access to an

educational environment free from harassment and discrimination on the basis of race.



11. Among other relief as prayed for herein. Plaintiffs seek injunctive relief in this

action, including an amendment of the school dress code to prohibit discrimination

based on political or ideological viewpoints, and the expungement of any disciplinary

records attribute to Plaintiff J.J. regarding any discipline taken against Plaintiff in

retaliation for vocalizing disparity in treatment and punishment.


   I.    PARTIES
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12. PlaintiffJ.K. is a minor and a 16 y/o black student at ECHS. He lives in Rincon, GA

with his mother.


13. Plaintiff J.J. is a minor and 15 y/o black student at ECHS. She lives in Guyton, GA

with her mother. Plaintiff K.M is a 16 y/o black student at ECCA. She lives in Guyton,

GA with her mother. They share the same mother.


14. Plaintiff Lakeisha Hamilton is the mother of J.K. and brings this action on behalf of

her minor son, J.K.


15. Plaintiff Tauretta McCray is the mother of J.J. and K.M. and brings this action on

behalf of her minor daughters, J.J. and K.M.


16. ECHS is located at 1589 Hwy 119 S, Springfield, GA 31329 within Effingham

County, and is a public educational institution maintained by the Effingham County

Board of Education. ECCA is located at 2940 GA-21, and is a public educational

institution maintained by the Effingham County Board of Education.


17. Defendant ECSD is a public school system vested with the constitutional duty "to

establish and maintain public schools" within Its geographical limits. Ga. Const. Art. VIII,

§ 5, J I. ECSD is governed by the Effingham County Board of Education, which is

charged with the duty to maintain "management and control: of the ECSD school

system. Ga. Const. Art. VIII § 5, f II.


18. The Board maintains its administrative offices at 405 N. Ash St., Springfield, GA

31329.
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   II.    JURISDICTION AND VENUE


19. This Court has general federal question jurisdiction over this matter, pursuant to 28

U.S.C. § 1331, as this case arises under federal law, namely Title VI of the Civil Rights

Act of 1964, 42 U.S.C. §2000d, etseq.


20. The Southern District of Georgia is a proper venue for this action, pursuant to 28

U.S.C. § 1391 (b)(2), because the events giving rise to the claim took place in

Springfield and/or Effingham County, Georgia.


   III. STATEMENT OF FACTS



21. J.K. at the time of the filing of this Complaint, is a sophomore at ECHS. He is black.


22. J.J. at the time of the filing of this Complaint, is a sophomore at ECHS. She is

black. K.M at the time of the filing of this Complaint, is a junior at ECCA.


23. Amie Dickerson, at the time of the filing of this complaint, is a principal at ECHS.

She is white.



Reports and/or Actual and/or Constructive Knowledge of Racial Animosity at

ECHS, ECSD and the Schoors Deliberate Indifference


24. Plaintiffs have experienced a pattern at ECHS and ECSD of overt bigotry and

animosity by some white students and teachers against African American students.

Plaintiffs have repeatedly voiced their concerns and instances of open racism to school

officials, and in some instances involved the local news channel to no avail; school

officials have taken no actions to address or prevent these reported incidents of
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intimidation and racial bigotry and, in some instances, have catered to the perpetrators

by failing to conduct proper investigations or discipline the perpetrators.


25. In 2020, the students at ECHS, ECCA and/or ECSD reenacted the killing of George

Floyd. Students played the role of police officers and another student played the role of

George Floyd. One of the white students put a knee on the other student's neck. That

reenactment was posted to social media and later covered on the local news. Plaintiff

K.M. witnessed it and complained to administration. Subsequent to that the incident was

covered on the local news. As a result the students were suspended and sent to the

alternative period of time. During the time at the alternative school, the offending

students harassed and threatened Plaintiff, K.M., warning that "she ruined their lives."

Despite complaints to administration, no action was taken.


26. The scrawling of "I hate ni*****" were reported to principal Amie Dickerson. Plaintiffs

J.K. manifested emotional distress at the episode and has expressed discomfort and

dis-ease in entering the school's baseball facilities which is his safe place.


27. Following this incident and other reports of racial animosity perpetuated by the white

students that scrawled the racial epithet in the locker room, those students were

coddled and allowed to "confess" to less severe infractions connected to the event.



28. Defendants have been aware of a pervasive and consistent pattern of peer-to-peer

harassment and discrimination. Yet they failed to prevent or address the peer-to-peer

racial harassment that was sufficiently serious as to create a hostile environment; that

is, harassment that denies or limits a student's ability to participate in or benefit from

school.
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29. Plaintiffs in addition to numerous other students, made multiple complaints about

the activities of several white students, who would regularly say the "n word" without

consequence or recourse.



30. Plaintiff J.J. was disciplined after naturally responding emotionally when April Collins

stated to her in a classroom on ECHS campus, "thats like someone calling you a ni****"

in response to her using the term "retarded" to refer to something that she thought did

not look good. Despite complaint from Plaintiff Thornhill and J.J. there was not action

taken against the teacher.


Dress Code Policy


31. ECHS, ECCA and ECSD maintains a dress code policy that prohibits wearing or

displaying expressive items on the uniform that may contribute to disruption by

substantially interfering with discipline or rights of others. As Effingham County Schools

Handbook p. 12. As vague as the language is, it has been interpreted and enforced to

exclude "Black Lives Matter" but not Confederate flag attire or regalia.


32. Administrators have interpreted this district wide code to permit the wearing of

Confederate flag attire while construing it to prohibit "Black Lives Matter' messaging or

images.


33. White students at ECHS , ECCA and within ECSD regularly wear Conferate flag

apparel and "Trump' apparel. Plaintiffs have seen this on several occasions.
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34. The school permits faculty to display paraphernalia supporting former President

Donald Trump. However, the school has expressly prohibited Plaintiffs from wearing

Black Lives Matter messaging on the grounds that it is disruptive and controversial.


35. In one instance, a black student was refused entry to a football game because she

was wearing a "Black Lives Matter" shirt; and was advised that she could not enter with

it on. However, a white student was allowed entry at the very same event with a shirt

that read, "Stomp on My Flag; I'll Stomp Your A**". There were no repercussions for that

white student.


36. Defendants were made aware of the obvious viewpoint discrimination behind the

application of the dress code via multiple black students and parents and also via the

local news outlet. They were told that while the dress code forbids any clothing that

could cause a disruption (and asserted that "Black Lives Matter" constituted a

disruption, that the Confederate flag represents "heritage not hate" and is a point of

pride rather than disruption.


During ECHS "Spirit Week", An incident Occurred Reiated to Adoiph Hitier

Costume Worn to School



37. In September 2022, during Spirit Week, a homecoming style week is met with

specific theme days such as "hero vs. villain".


38. During "Spirit Week", one white student, after receiving approval from a teacher,

wore a full outfitted Adoiph Hitler costume. Complaints were made to Defendants with

no recourse.
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                                        COUNT I

                                 (as to all Defendants)
                               Denial of Equal Protection

         in violation of the Fourteenth Amendment to the U.S. Constitution

                                  and42U.S.C.§1983

39. Plaintiffs reallege and incorporate the above paragraphs by reference as if fully set

forth herein.


40. Defendants have violated Plaintiffs' right to Equal Protection under the Fourteenth

Amendment, by demonstrating deliberate indifference to evidence of racist remarks and

actions by white students and white teachers against them and for inconsistently

appling ECSD and ECHS disciplinary policies to the detriment of Black students,

including Plaintiffs.


COUNT II



(as to all Defendants)


Infringement on Free Speech (by Dress Code and Other Disciplinary Policies) in

violation of the First Amendment to the U.S Constitution and 42 U.S.C. § 1983


41. Plaintiffs reallege and incorporate the above paragraphs by reference as iffully set

forth herein.



42. ECHS and ECCA's dress code, as originally adopted by Defendants, is

unconstitutional because it discriminates based on viewpoint in violation of the First

Amendment of the U.S. Constitution, as applied to the states through the Fourteenth

Amendment.
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COUNT III



(as to all Defendants)


Race Discrimination in violation of Title VI, 42 U.S.C. § 2000d


43. Plaintiffs reallege and Incorporate the above paragraphs by reference as iffully set

forth herein.


44. Defendants' failure to address incidents of racism by white students and white

teachers caused a hostile environment and promoted the harassment to continue

occurlng.


JURY DEMAND



Plaintiffs request a trial by jury on all claims.


WHEREFORE, Plaintiffs request that this Court enter the following relief:


   1.   Find and declare that Defendants' conduct, as described herein and taken

        against Plaintiffs, constitutes racial discrimination in violation of Title VI of the

        Civil Rights Act of 1964, 42 U.S.C. §2000d, et seq.;

   2. Find and declare that Defendants' conduct, as described herein and taken

        against Plaintiffs, violated Plaintiffs' right to Free Speech under the First

        Amendment of the U.S. Constitution;

   3. Find and declare that the dress code as described herein, on its face, violets

        Plaintiffs' right to Free Speech under the First Amendment of the U.S.

        Constitution;
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   4. Find and declare the Defendants' conduct, as described herein, and the dress

         code as described herein, on its face, violates Plaintiffs' right to Equal Protection

         under the Fourteenth Amendment of the U.S. Constitution;

   5. Issue a permanent injunction, requiring Defendants to comply with federal law,

         including by enjoining the Defendants from any continuing punishment or

      sanction against Plaintiffs on account of their constitutionally protected speech

         and expunging from Plaintiffs' school records all references to the incidents in

         question;

   6. Award damages that may be appropriate, in an amount to be determined at trial;

   7. Award punitive damages for the egregious conduct of Defendants'

   8. Award all costs and fees incurred prosecuting this action;

   9. Grant any and all other relief to which Plaintiffs may be entitled as this Court

      deems just and appropriate.


VRe^ctfully^bmitted,

Lakeisha Hamilton, J.K. Rhetta Thornill and J.J.

Pro Se

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